                 IN THE UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF DELAWARE




NORTHROP GRUMMAN SHIP
SYSTEMS, INC.,

            Plaintiff.,                       C.A. No. 1:20-mc-00257-UNA

   v.

THE MINISTRY OF DEFENSE OF THE
REPUBLIC OF VENEZUELA,

            Defendant.




MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR RELIEF
UNDER 28 U.S.C. § 1610(C) AND FOR A WRIT OF ATTACHMENT FIERI FACIAS


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DATED: September 15, 2020
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       Plaintiff and judgment creditor Northrop Grumman Ship Systems, Inc., f/k/a Ingalls

Shipbuilding, Inc., and now known as Huntington Ingalls Incorporated (“Plaintiff” or

“Huntington Ingalls”), respectfully submits this brief in support of its motion (1) for relief

pursuant to Section 1610(c) of the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§

1610(c), and (2) for an order authorizing the Clerk of the Court to issue a writ of attachment fieri

facias (“fi. fa.”) in accordance with Section 1610(a)(6) of the FSIA, Rule 69(a)(1) of the Federal

Rules of Civil Procedure, and Sections 5031 (10 Del. C. § 5031) and 324 (8 Del. C. § 324(a)) of

the Delaware Code as to the shares of PDV Holding, Inc. (“PDVH”), a Delaware corporation

fully-owned by Petróleos de Venezuela S.A. (“PDVSA”), the state oil company and alter ego of

judgment debtor the Bolivarian Republic of Venezuela (“Venezuela”).

                                        INTRODUCTION

       On June 4, 2020, the United States District Court for the Southern District of Mississippi

entered a final judgment (“the Judgment”) enforcing an international arbitration award (“the

Award”) rendered against the Venezuelan Ministry of Defense and in favor of Huntington

Ingalls in the amount of $137,977,646.43.1 The Mississippi federal district court did so pursuant

to Articles 4 and 5 of the Inter-American Convention on International Commercial Arbitration of


1
  The Award was issued on February 19, 2018 by an international arbitration tribunal seated in
Brazil. The dispute between Huntington Ingalls and Venezuela arose out of Venezuela’s non-
payment for services provided in repairing two Venezuelan warships. As a matter of law, the
Ministry of Defense is the Venezuelan State and not one of its “instrumentalities.” See Northrop
Grumman Ship Sys., Inc. v. Ministry of Def. of the Bolivarian Republic of Venezuela, No. 1:02-
cv-00785-HSO-RHW, 2003 U.S. Dist. LEXIS 29844, at *3 (S.D. Miss. April 16, 2003) (“The
Defendant Ministry of Defense of the Republic of Venezuela (herein, ‘The Ministry’) is a
foreign state as defined by the Foreign Sovereign Immunities Act. 28 U.S.C. § 1603(a).”
(emphasis added)). See Transaero, Inc. v. La Fuerza Aerea Boliviana, 30 F.3d 148, 153 (D.C.
Cir. 1994) (“armed forces are . . . as a rule so closely bound up with the structure of the state that
they must in all cases be considered as the ‘foreign state’ itself, rather than a separate ‘agency or
instrumentality’ of the state”).



                                                  1
1975 and the Federal Arbitration Act, 9 U.S.C. §§ 9, 207, 302 and 304.2 Huntington Ingalls

registered the Judgment in this Court pursuant to 28 U.S.C. § 1963 on July 31, 2020. See D.I. 1.

Because Venezuela continues to fail to pay the amount owed under the Judgment, Huntington

Ingalls now moves that this Court: (1) find that a sufficient and “reasonable” period of time has

elapsed since entry of judgment within the meaning of 28 U.S.C. § 1610(c) such that Huntington

Ingalls may now seek to attach assets of Venezuela present in Delaware pursuant to

28 U.S.C. § 1610(a); and (2) specifically authorize Huntington Ingalls’s attachment of the shares

of PDVH which belong to Venezuela through its alter ego, PDVSA.3

                                 SUMMARY OF ARGUMENT

       The Court should grant both parts of Huntington Ingalls’s Motion.

       1.      In the three months since the Mississippi federal district court entered the

judgment, Venezuela has not taken any action to pay Huntington Ingalls. Consistent with the

practice of this and other federal courts in similar cases, a “reasonable” period of time within the

meaning of 28 U.S.C. § 1610(c) has therefore elapsed and Huntington Ingalls should be allowed

to take active measures to collect on its judgment.

       2.      Assuming this Court agrees that a reasonable time has elapsed for Venezuela

to have voluntarily paid the Judgment, the remaining question for the Court is then whether

PDVSA remains Venezuela’s alter ego, such that PDVSA’s assets in the United States may be



2
 See Inter–American Convention on International Commercial Arbitration [opened for signature
Jan. 30,1975, O.A.S.T.S. No. 42, 1438 U.N.T.S. 245], (reprinted after 9 U.S.C. § 301).
3
  In accordance with Local Rule 69.1, Huntington Ingalls submits a proposed writ of attachment
fieri facias, as well as a praecipe, with this motion. See Exs. 1, 2. References to “Yanos Decl.
Ex. [_]” are to the exhibits attached to the supporting Declaration of Alexander A. Yanos, dated
September 15, 2020. Huntington Ingalls is providing notice of this motion to Venezuela,
PDVSA, and PDVH. See Yanos Decl. ¶¶ 3–5.



                                                 2
deemed commercial assets of Venezuela held through its alter ego and thus subject to

Huntington Ingalls’s attachment.4

       3.      The Court has reached this conclusion before. In August of 2018, it found that

PDVSA was the alter ego of Venezuela and authorized attachment of PDVH’s shares in

Crystallex International Corporation v. Bolivarian Republic of Venezuela, 333 F. Supp. 3d 380,

391 (D. Del. 2018). Subsequently, in an Order dated December 12, 2019, the Court declined to

give collateral estoppel effect to its alter ego finding for the benefit of other judgment creditors of

Venezuela, citing the potential effect of intervening changes in circumstances on its alter ego

analysis, including the United States’ decision in January of 2019 to transfer its recognition of

Venezuela’s legitimate government from that headed by Mr. Nicolás Maduro to that led by Mr.

Juan Guaidó. See Memorandum Order Regarding Pending Motions and Stay, Crystallex Int’l

Corp. v. Bolivarian Republic of Venez., No. 1:17-mc-00151 (Dec. 12, 2019), D.I. 154 at 13–17.

       4.      Despite that caution, this Court’s original conclusion on the alter ego issue

remains correct today. Mr. Guaidó’s government treats PDVSA as a part of the Venezuelan

State and uses its assets in commerce no less than Mr. Maduro’s regime did (and, though no

longer recognized as the legitimate government by the United States, continues to do).

Huntington Ingalls should therefore be allowed to attach PDVH’s shares.

       5.      Otherwise, as no other comparable commercial assets of Venezuela have been

identified for attachment in the United States, to deny Huntington Ingalls the attachment it

seeks—and thus the opportunity to participate in any prospective auction of PDVH shares under

the auspices of this Court assuming appropriate licenses from the U.S. Department of the

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  PDVH’s shares are located in Delaware as a matter of law. See 8 Del. C. § 169 (“For . . .
purposes of . . . attachment [and] garnishment . . . the situs of the ownership of the capital stock
of all corporations existing under the laws of this State . . . shall be regarded as in this State.”).



                                                  3
Treasury’s Office of Foreign Assets Control (“OFAC”) are received—would leave Huntington

Ingalls without an effective remedy and work unjustifiable discrimination among Venezuela’s

judgment creditors.

       6.      Huntington Ingalls is applying to OFAC for authorization to effectuate the

attachment of the PDVH shares held by PDVSA in this District and will keep the Court advised

of all developments in this regard.

                                      STATEMENT OF FACTS

       I.      The Arbitration Award And Judgment

       On February 19, 2018, an arbitral tribunal (the “Tribunal”) issued the Award against

Venezuela and in favor of Huntington Ingalls in the net amount of US$ 128,862,457.27 not

including post-Award interest.        See Memorandum Opinion and Order Granting Plaintiff

Northrop Grumman Ship Systems, Inc.’s Motion for Recognition and Execution of Arbitration

Award, Northrop Grumman Ship Sys., Inc. v. Ministry of Def. of the Republic of Venez. No. 1:02-

cv-00785-HSO-RHW (Mar. 31, 2020) (Yanos Decl. Ex. 3) at 7.

       On June 26, 2019, Huntington Ingalls filed a Motion to Recognize and Execute the

Award in the Southern District of Mississippi. Id. at 8–9. The Mississippi federal district court

granted Huntington Ingalls’s Motion on March 31, 2020, in an opinion and order that rejected

Venezuela’s argument that the Tribunal had acted beyond its authority when it determined that

Rio de Janeiro should serve as the arbitral seat. See id. at 12–15. The Mississippi federal district

court entered Judgment on June 4, 2020 in the amount of $137,977,646.43.5 D.I. 1. Then, on

July 23, 2020, the Mississippi federal district court granted Huntington Ingalls’ Motion for Relief

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  Venezuela has since appealed the district court’s order. See Northrop Grumman Ship Sys., Inc.
v. Ministry of Def. of the Republic of Venez., No. 20-60347 (5th Circ.). In doing so, Venezuela
did not file a supersedeas bond. Yanos Decl. ¶ 7.



                                                 4
Pursuant to 28 U.S.C. § 1963, finding that Huntington Ingalls had shown good cause to register

the Judgment in this district during the pendency of Venezuela’s appeal. See Order Granting In

Part And Denying In Part Without Prejudice Plaintiff’s Motion for Relief Pursuant to 28 U.S.C.

§ 1610(c) and 28 U.S.C. § 1963, Northrop Grumman Ship Sys., Inc. v. Ministry of Def. of the

Republic of Venez. No. 1:02-cv-00785-HSO-RHW (July 23, 2020) (Yanos Decl. Ex. 4). At the

same time, the Mississippi federal district court ruled that any determination about timing of the

attachment of assets pursuant to § 1610(c) should be made by this Court. See id. at 5–6.6

Huntington Ingalls then registered the Judgment with this Court pursuant to 28 U.S.C. § 1963 on

July 31, 2020. See D.I. 1.

       II.     This Court Found PDVSA To Be Venezuela’s Alter Ego In August 2018 And
               Authorized Attachment Of The PDVH Shares Accordingly.

       Huntington Ingalls is not the first of Venezuela’s judgment creditors to appear before this

Court. The first was Crystallex International Corp. (“Crystallex”), which on June 19, 2017,

registered a judgment from the United States District court for the District of Columbia based on

another international arbitration award. On August 9, 2018, this Court found, based on an

extensive factual record, that PDVSA was Venezuela’s alter ego. See Crystallex Int’l Corp. v.

Bolivarian Republic of Venez., 333 F. Supp. 3d 380, 391 (D. Del. 2018) (applying the test for

setting aside the presumption of separateness between a State and its instrumentality set forth in

First National City Bank v. Banco Para El Comercio Exterior de Cuba, 462 U.S. 611, 627

(1983) (“Bancec”)). The factual record presented by Crystallex proved that the Venezuelan State

exerted pervasive control over PDVSA, “including its day-to-day operations” thus “rendering

6
 In other cases, the “reasonable time” inquiry under 28 U.S.C. 1610(c) has been decided by the
court whose judgment is to be enforced. See, e.g., Crystallex Int’l Corp. v. Bolivarian Republic
of Venez., No. 16-cv-0661 (RC), 2017 U.S. Dist. LEXIS 221611, at *1 (D.D.C. Jun. 9, 2017); OI
European Grp. B.V. v. Bolivarian Republic of Venez., 419 F. Supp. 3d 51, 53 (D.D.C. 2019).



                                                5
PDVSA the alter ego of Venezuela.” Id. at 399. It followed that Crystallex, as Venezuela’s

judgment creditor, could attach the PDVH shares located in this District consistent with the FSIA

because they were the property of Venezuela’s alter ego—and thus of Venezuela itself—used in

commerce.7 See id. at 418 (“As Crystallex states, ‘it is difficult to imagine property with more of

a commercial use than shares of a Delaware for-profit corporation that itself owns, through an

intermediate holding company, a multi-billion dollar Delaware petroleum corporation. . .’”). The

Third Circuit affirmed this Court’s alter ego decision and the Supreme Court denied certiorari in

May 2020. See Crystallex Int’l Corp. v. Bolivarian Republic of Venez., 932 F.3d 126, 150 (3d

Cir. 2019), cert. denied, Bolivarian Republic of Venez. v. Crystallex Int’l Corp., 206 L.Ed.2d 936

(2020).

          III.   Events Subsequent To This Court’s August 2018 Alter Ego Decision In
                 Crystallex

          In the months immediately following this Court’s alter ego decision in Crystallex, the

relationship between Venezuela and PDVSA continued unchanged.                The then-recognized

Venezuelan government of Nicolás Maduro continued to exercise complete control over




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  In finding PDVSA to be Venezuela’s alter ego, this Court considered a voluminous evidentiary
record proving Venezuela’s pervasive use of PDVSA and its assets as simply an extension of the
state itself. Among other things, this Court found the Bancec standard satisfied where the
evidence showed that (i) Venezuela used PDVSA’s property as its own; (ii) ignored PDVSA's
formally separate status; (iii) subjected PDVSA to close political control; (iv) required high level
governmental approvals for routine business decisions; and (v) caused PDVSA to act directly as a
policy arm of the State. See generally Crystallex Int’l Corp., 333 F. Supp. 3d at 402–03. To the
extent that the relationship between the Maduro regime and those parts of PDVSA that it still
effectively controls remains relevant, there has been no change in the tenor of that relationship
that would warrant a conclusion different from that which this Court reached in August of 2018.
See infra n. 8. See also Memorandum of Law in Support of OIEG’s Motion for Reconsideration,
OI European Grp. B.V. v. Bolivarian Republic of Venez., No. 1:19-mc-00290 (D. Del. Dec. 23,
2019), D.I. 28 at 4–6.



                                                 6
PDVSA, among other things appointing military commanders and Venezuela’s Minister of Oil to

the PDVSA board by decree and subjecting the company to military control.8

       In January of 2019, however, Venezuela’s National Assembly rejected Nicolás Maduro’s

claim to reelection, declared the election results illegitimate and instead named opposition leader

Juan Guaidó as interim president.9 The United States recognized Mr. Guaidó’s government as

the legitimate government of Venezuela on January 23, 2019.10

       Unable to control territory in Venezuela, Mr. Guaidó’s administration has prioritized

external matters, including recovering control of overseas PDVSA entities (including, in

particular those in the United States) and attempting to negotiate the restructuring of Venezuela’s

debts—including adverse arbitration awards. In connection with the latter goal, Mr. Guaidó’s

government has, as a matter of policy, treated PDVSA’s debt obligations as equivalent to those

of the Venezuelan State.11

       As part of this program, the Guaidó government in February of 2019 appointed a parallel

ad hoc board of directors of PDVSA. See Jiménez, 2019 Del. Ch. LEXIS 288, at *12. That new


8
  See Jiménez v. Palacios, No. 2019-0490-KSJM, 2019 Del. Ch. LEXIS 288, at *8 n.7 (Ch. Aug.
2, 2019), aff’d, 2020 Del. LEXIS 253 (Del. July 22, 2020) (listing Mr. Maduro’s October 2018
appointments). See also Alexandra Ulmer & Marianna Parraga, “Oil output goes AWOL in
Venezuela as soldiers run PDVSA,” REUTERS (Dec. 26, 2018) (Yanos Decl. Ex. 5); “Minister
Quevedo Inspected Full Operability of VHICOA”, PETROLEOS DE VENEZUELA, S.A. (Oct. 28,
2019) (showing Mr. Quevedo as both a minister and president of PDVSA) (Yanos Decl. Ex. 6);
“Venezuela names El Aissami to PDVSA board of directors,” REUTERS (Sept. 9, 2018) (Yanos
Decl. Ex. 7); Joshua Goodman “Tareck El Aissami, ICE ‘10 most-wanted fugitive’ tapped to
revamp Venezuela’s oil industry,” ASSOCIATED PRESS (Apr. 27, 2020) (Yanos Decl. Ex. 8).
9
 See generally Ana Vanessa Herrero, “After U.S. Backs Juan Guaidó as Venezuela’s Leader,
Maduro Cuts Ties,” NEW YORK TIMES (Jan. 23, 2019) (Yanos Decl. Ex. 9).
10
  Statement Recognizing Venezuelan National Assembly President Juan Guaidó as the Interim
President of Venezuela, THE WHITE HOUSE (Jan. 23, 2019) (Yanos Decl. Ex. 10).
11
  Ben Bartenstein, “U.S. Shields Citgo From Creditors in Win for Venezuela’s Guaidó,”
BLOOMBERG (Oct. 24, 2019) (Yanos Decl. Ex. 11).



                                                7
Guaidó-appointed board in turn appointed new directors for three Delaware entities: PDVH,

Citgo Holding Inc., and Citgo Petroleum Corp. See id. at *33–34 (holding that U.S. Courts must

recognize Mr. Guaidó’s appointed ad hoc board members as the rightful members of the boards

for PDVSA, PDVH, Citgo Holding Inc., and Citgo Petroleum Corp). Mr. Guaidó constituted the

ad hoc board with the expressed goal of “recover[ing] and protect[ing] the nation’s assets

abroad.”12 At present, the ad hoc board appointed by Mr. Guaidó claims control over PDVSA

and its assets, regularly reporting its operations to the National Assembly. Id.

       In light of the change in the United States’ recognition of the legitimate government of

Venezuela, this Court on December 12, 2019 declined to give its prior Crystallex decision the

effect of collateral estoppel when two other judgment creditors—OI European Group (“OIEG”)

and Saint-Gobain Performance Plastics Europe—sought writs of attachment against the PDVH

shares.13 See Memorandum Order Regarding Pending Motions and Stay, Crystallex Int’l Corp. v.

Bolivarian Republic of Venez., No. 1:17-mc-151-LPS (D. Del. Dec. 12, 2019), D.I. 154 at 13–16.

Noting that the “relevant portion of PDVSA, which is the property in the U.S.,” was by then

“under a new legal regime . . . recognized by the U.S.,” this Court ruled that “whether PDVSA

can, under the present circumstances, be deemed an alter ego of the Republic is not identical to

the issue decided [in the 2018 order].” See id. at * 20. Accordingly, this Court held that

judgment creditors of Venezuela other than Crystallex could not rely solely on the Crystallex

decision to establish their entitlement to attach PDVH shares owned by PDVSA in Delaware


12
  “Guaidó on recovered assets: ‘Our commitment is to Venezuelans and transparency,’”
Republica Bolivariana de Venezuela, Asamblea Nacional, CENTRO DE COMUNICACIÓN
NACIONAL (Aug. 7, 2020) (Yanos Decl. Ex. 12).
13
    The undersigned counsel represented Saint-Gobain Performance Plastics Europe in that
proceeding. See Saint-Gobain Performance Plastics Europe v. Bolivarian Republic of Venezuela
et al, No. 1:18-cv-01963-LPS (D. Del.) (transferred to D.D.C., Jan. 15, 2020).



                                                 8
because “the pertinent date on which an alter ego relationship must exist (or must have existed)

may well differ in different cases involving different creditors” and because “later events” might

supplement the record and lead to a different conclusion. See id. at *21. Instead, this Court ruled

that judgment creditors of Venezuela’s seeking to attach PDVH shares “will have to prove that

PDVSA is and/or was the Republic’s alter ego” at the relevant date for themselves. Id. at *23.

                                          ARGUMENT

         I.     The Court Should Grant Huntington Ingalls Relief Under 28 U.S.C. §
                1610(c) Because A Reasonable Time Has Elapsed Since Entry Of Judgment.

         Section 1610(c) of the FSIA provides that, when a judgment has been entered against a

foreign state, attachment of the foreign state’s property in the United States in support of

execution of the judgment is permitted only once “the court has . . . determined that a reasonable

period of time has elapsed following the entry of judgment.” See 28 U.S.C. § 1610(c). “What

constitutes a ‘reasonable time’” is a matter for the Court’s discretion and “will vary according to

the nuances of each case.” See Karaha Bodas Co., L.L.C. v. Perusahaan Pertambangan Minyak

Dan Gas Bumi Negara, No. H-01-0634, 2002 U.S. Dist. LEXIS 3976, at *4 (S.D. Tex. Jan. 24,

2002).

         Courts have regularly found a “reasonable” period of time to have passed for purposes of

28 U.S.C. § 1610(c) where, as here, the judgment creditor’s motion was filed shortly after

judgment and where the 30-day automatic stay imposed by Rule 62(a) will, as a practical matter,

have expired by the time the judgment creditor’s motion is decided. See, e.g., Crystallex Int’l

Corp. v. Bolivarian Republic of Venez., 2017 U.S. Dist. LEXIS 221611, at *2–3 (finding that

“two months is a reasonable time” and counting time elapsed since filing a motion under 28

U.S.C. § 1610(c) was filed 18 days after entry of judgment).          See also Gold Reserve v.

Bolivarian Republic of Venez., No. 14-cv-2014 (JEB) (D.D.C. Jan. 20, 2016), D.I. 48 (two



                                                9
months after entry of judgment); Elliott Assocs., L.P. v. Banco de la Nacion, 96 Civ. 7916

(RWS), No. 96 Civ. 7917 (RWS), 2000 U.S. Dist. LEXIS 15649, at *1 (S.D.N.Y. June 22, 2000)

(ten days after entry of judgment).

        In this case, more than four months have passed since the Mississippi federal district

court’s order confirming the Award and two months since entry of Judgment. Twenty-nine

months have passed since the Tribunal issued the Award itself. Venezuela has had ample time to

satisfy its obligations to Huntington Ingalls and has amply demonstrated that it does not want to

do so. See Karaha Bodas, 2002 U.S. Dist. LEXIS 3976, at *6 (noting that the sovereign debtor

“[knew] the extent of its potential liability for over a year . . . when the Arbitral Tribunal issued

its final award”).

        Under these circumstances, four months following the district court’s order and two

months following the Judgment is a more than reasonable period for Venezuela to finalize

arrangements to pay the Award. It has not done so. Venezuela’s failure to take any steps in this

regard is unsurprising: to the knowledge of undersigned counsel, in the past two years,

Venezuela has repeatedly failed to voluntarily satisfy the international arbitration awards

rendered against it and never posted a bond in support of its appeals. See Yanos Decl. ¶ 7.

        Importantly, Venezuela’s political instability does not alter a finding that a reasonable

amount of time has passed since the Judgment. Courts have in fact found exactly the opposite.

For example, in OI European Group B.V. v. Bolivarian Republic of Venezuela, 419 F. Supp. 3d

at 54–55, the district court specifically noted:

                [T]he political uncertainty in Venezuela is also a circumstance
                that bolsters plaintiff’s argument that it should be allowed to seek
                attachment. The “reasonable period of time” formulation is meant
                to allow the foreign government sufficient time to work through its
                internal procedures to satisfy the judgment. Defendant has not
                pointed the Court to any mechanism or internal procedures through



                                                   10
               which it will satisfy the judgment. In fact, defendant agrees that it
               is functionally unable to do so at this time.

(emphasis added); see also Red Tree Invs., LLC v. Petróleos De Venezuela, S.A., No. 19-cv-2519

(AJN), 2020 U.S. Dist. LEXIS 6409, at *8, (S.D.N.Y. Jan. 14, 2020) (“While the Court is

mindful of the political upheaval and attendant economic and humanitarian crises Venezuela is

currently experiencing, ‘it would not be appropriate or fair to the plaintiff to stay [this] case

indefinitely until. . . transition [to the Guaidó government] is completed.’”) (quoting OIEG, 419

F. Supp. 3d 51 at 56).

       For all these reasons, this Court should find that a reasonable amount of time has elapsed

since entry of the Judgment and allow Huntington Ingalls to seek attachment of the PDVH shares

in this District in satisfaction of the Judgment.

       II.     A Writ Of Attachment Against PDVH Shares Owned By PDVSA Is
               Appropriate Because PDVSA Remains Venezuela’s Alter Ego Under The
               Guaidó Government.

       Section 1610(a)(6) of the FSIA provides that a foreign State’s property used for

commercial activity in the United States may be attached in aid of execution of a judgment based

on an order confirming an arbitral award rendered against the foreign state. See 28 U.S.C. §

1610(a)(6). Huntington Ingalls has registered a judgment in this District from a United States

court confirming an arbitral award rendered against Venezuela. See D.I. 1. Venezuela, through

its alter ego PDVSA, owns shares in PDVH located in this District and exercises its ownership of

those shares in commerce. As such, Venezuela’s shares in PDVH are not immune to a writ of

attachment for the fulfillment of the Award.

       A.      The Crystallex Alter Ego Decision Should Have The Effect Of Collateral
               Estoppel, At Least Through August 2018.

       As a preliminary matter, the Court’s alter ego holding from Crystallex must be at least

determinative up to August of 2018. Cf. Crystallex, 2019 U.S. Dist. LEXIS 214167, at *23 (“any


                                                    11
creditor may be able to find support (perhaps strong support) in the record created in the

Crystallex Asset Proceeding and the finding reached (and affirmed) [there]”). Indeed, courts have

often applied collateral estoppel to litigated issues specific to certain time frames. See, e.g.,

Bradburn Parent Teacher Store, Inc. v. 3M, No. 02-7676, 2005 U.S. Dist. LEXIS 5315, at *20

(E.D. Pa. Mar. 30, 2005) (“[F]or the period from June 11, 1993 through October 13, 1999, the

issues for which Bradburn seeks collateral estoppel in this case are the same as those before the

jury in [another proceeding]. Accordingly, the Court finds that all five issues Bradburn seeks to

preclude satisfy the first element for the application of collateral estoppel for the time period from

June 11, 1993 through October 13, 1999.”); Oberweis Dairy, Inc. v. Associated Milk Producers,

Inc., 553 F. Supp. 962, 966 (N.D. Ill. 1982) (“Because [another proceeding’s] findings relevant

here are focused on the 1970-71 period, any collateral estoppel effect must be so limited.”).

       This Court has yet to decide what date should govern the fresh alter ego analysis called for

by its December 2019 decision rejecting OIEG and Saint-Gobain’s collateral estoppel theory. If a

date certain controls, however, courts have frequently found that it is the date on which liability

arose. See Groden v. N&D Transp. Co., 866 F.3d 22, 30 (1st Cir. 2017) (finding that a plaintiff

could state a claim for alter ego liability under ERISA by “claiming that [one company] was

[another’s] alter ego when the withdrawal liability arose”—that is “at the times pertinent.”);

Energy Marine Servs., Inc. v. DB Mobility Logistics AG, 2020 U.S. Dist. LEXIS 7406, at *8 (D.

Del. Jan. 22, 2016) (whether parties were alter egos “[d]uring the relevant time frame,” 2008 to

2010); Greene v. New Dana Perfumes Corp., 287 B.R. 328, 343 (D. Del. 2002) (analyzing the

parties’ “separate corporate existence at the time in question,” 1998); Trs. of Nat’l Elevator

Indus. Pension v. Lutyk, 140 F. Supp. 2d 447, 457 (E.D. Pa. 2001), aff’d sub nom., 332 F.3d 188




                                                 12
(3d Cir. 2003) (citations omitted) (“Here, the relevant time period is the time at which the

corporation incurred liability”).

       With regard to Huntington Ingalls, Venezuela incurred liability in February of 2018 when

the Tribunal issued the Award and Venezuela failed to pay. That the United States thereafter

transferred its recognition from Mr. Maduro’s government to Mr. Guaidó’s should make no

difference where the Award was, like the Judgment, a liability of the State, itself a legal person.14

Mr. Guaidó’s government is—as it has acknowledged—responsible for liabilities incurred during

Mr. Maduro’s tenure.15 On this basis, this Court’s 2018 alter ego decision should have preclusive

effect because PDVSA and Venezuela were—as this Court has determined—alter egos at the

time that liability was incurred.    See Crystallex, 2019 U.S. Dist. LEXIS 214167, at * 21

(acknowledging a “finding of an alter ego relationship as of August 2018”).

       B.      Subsequent Events Since This Court’s August 2018 Decision Should Not
               Cause The Court To Change Its Conclusion That PDVSA Is The Alter Ego
               Of The Venezuelan State




14
   See, e.g., Lehigh Valley R. Co. v. State of Russia, 21 F.2d 396, 401 (2d Cir.), cert. denied, 275
U.S. 571 (1927) (“A monarchy may be transformed into a republic, or a republic into a
monarchy; absolute principles may be substituted for constitutional, or the reverse; but,
though the government changes, the nation remains, with rights and obligations unimpaired.”)
and Trans-Orient Marine Corp. v. Star Trading & Marine, Inc., 731 F. Supp. 619, 621 (S.D.N.Y.
1990), aff’d 925 F.2d 566 (2d. Cir. 1991) (“International law sharply distinguishes the succession
of state, which may create a discontinuity of statehood, from a succession of government, which
leaves statehood unaffected. It is generally accepted that a change in government, regime or
ideology has no effect on that state’s international rights and obligations because the state
continues to exist despite the change.”) (citing Restatement (3d) of the Foreign Relations Law of
the United States, § 208, Comment a.).
15
  See Guidelines for the Renegotiation of the Chavez/Maduro Era Legacy Public External Debt,
Office of the Special Attorney General of the Bolivarian Republic of Venezuela (July 1, 2019)
(Yanos Decl. Ex. 13) at § 3 (“[N]o different treatment shall be accorded to . . . foreign currency-
denominated claims as a result of their origin (for example, whether arising pursuant to a debt
instrument, an unpaid invoice, an expropriation, etc.)”).



                                                 13
          Yet even assuming that the Court should look to later events—and particularly to the

impact of the United States’ recognition of Mr. Guaidó’s government—the result is no different.

          First, between August 2018 and January 2019, the United States continued to recognize

Mr. Maduro as the legitimate president of Venezuela. Over this period, the Maduro regime’s

treatment of PDVSA as coterminous with the Venezuelan State continued unmistakably and

unabated. For example, in October of 2018, Maduro named General Manuel Salvador Quevedo

Fernández, a career military officer and then-Minister of Oil as president of the board of PDVSA

and Tareck El Aissami, the then Minister of Industry and National Production, as External

Director of PDVSA. Jiménez, 2019 Del. Ch. LEXIS 288, at *8 n.7.16 In the later part of 2018,

Mr. Quevedo imposed a military regime on PDVSA, arresting workers for operational mistakes

and deploying active military personnel aboard tankers.17 In short, the attitude of the Maduro

regime towards PDVSA during this period was no different than prior to this Court’s alter ego

decision in Crystallex, and there is no reason to imagine that this Court’s decision would have

been different had it come a few months later.

          Neither does the United States’ recognition of Mr. Guaidó as president in January of 2019,

or the attitude of Mr. Guaidó’s administration toward PDVSA and its related United States

entities, warrant a change from this Court’s previous finding that PDVSA is the alter ego of the

Venezuelan State. To be sure, Mr. Guaidó’s government does not actually have the physical

ability to control as much of PDVSA as Mr. Maduro’s. Nevertheless, following Mr. Guaidó’s

rise as president, his government has continued to identify PDVSA as part and parcel of the

Venezuelan State. For example, on February 8, 2019, within in a month of declaring himself


16
     See also supra n.8.
17
     Yanos Decl. Ex. 5.



                                                 14
interim president on January 23, 2019, Mr. Guaidó consolidated power by appointing a new, ad

hoc board of directors to PDVSA pursuant to powers granted to him by Venezuela’s National

Assembly. See Jiménez, 2019 Del. Ch. LEXIS 288, at *12. Mr. Guaidó’s administration

characterized that action as part of “taking progressive and orderly control of the assets of our

Republic abroad” in order to “speed up the political transition.”18

         Further, in a statement on the National Assembly website, Mr. Guaidó’s government

describes CITGO (which is a subsidiary of PDVH) as “one of the most valuable assets of the

nation.”19 If CITGO is an “asset of the nation,” it follows that the shares of its Delaware parent

company must be as well. Similarly, a statement by Venezuela’s ambassador to the United States

posted on the National Assembly website described U.S. Treasury regulations that, in

Venezuela’s view, work to shield against attachment of CITGO assets as a diplomatic

“achievement of the interim government of President Juan Guaidó to permanently secure the

assets of the Venezuelan state.”20 Huntington Ingalls, of course, is a judgment creditor “of the

Venezuelan State.”

         Mr. Guaidó’s approach to restructuring Venezuela’s debt further confirms his

government’s identification of PDVSA with the State. In this crucial context, Mr. Guaidó’s

government makes no meaningful distinction between the assets and liabilities of the Venezuelan

State and those of PDVSA. Instead, Mr. Guaidó’s government has called for “equal treatment”

of all claims subject to renegotiation, no matter “the identity of the public sector obligor.” See

18
  Renzo Pipoli, “Venezuela’s Guaidó to name new boards of PDVSA and Citgo,” UPI (Jan. 29,
2019) (Yanos Decl. Ex. 14).
19
     Yanos Decl. Ex. 12.
20
  “Venezuelan Interim Government Achieves Strengthening of U.S. Treasury Measures for the
Protection of CITGO and Other Assets,” Republica Bolivariana de Venezuela, Asamblea
Nacional, CENTRO DE COMUNICACIÓN NACIONAL (Nov. 21, 2019) (Yanos Decl. Ex. 15).



                                                15
Yanos Decl. Ex. 13.      In its position on renegotiation of Venezuela’s sovereign debt, Mr.

Guaidó’s government defines “public sector obligator” as “the Republic, PDVSA or another

public sector entity.” Id.

       Mr. Guaidó’s government is also seeking to invalidate bonds issued by Mr. Maduro’s

government through litigation in the Southern District of New York. In doing so, it has stated

that every PDVSA contract with a foreign national must be approved by the legislature. See

PDVSA Memorandum of Law in Support of Motion for Summary Judgment, Petroleos De

Venez. S.A. et al v. MUFG Union Bank, N.A. et al, No. 1:19-cv-10023 (S.D.N.Y. June 15, 2020),

D.I. 117, at 30 (Yanos Decl. Ex. 16) (seeking to avoid obligations to PDVSA bondholders by

arguing that all of PDVSA’s contracts required prior approval by Venezuela’s National

Assembly) and at n. 84 (stating that “[t]here is no dispute that PDVSA and PDVSA Petróleo,

which are ‘attached’ to (and thus controlled by) Venezuela’s Ministry of Petroleum and Mining,

are part of the National Public Administration of the Venezuelan Republic”). In short, the

Venezuelan State’s position is that PDVSA’s borrowing is the State’s borrowing and its business

decisions are likewise those of the Venezuelan State. This is precisely the kind of extensive

control contemplated by the Supreme Court in Bancec and, though played in a different key by a

new government, that was the foundation for this Court’s earlier alter ego finding.

       The State’s continued identity with and extensive control over PDVSA is also manifest

from the manner in which PDVSA accounts for its activities. In August of 2020, the President of

the ad hoc PDVSA board appointed by Mr. Guaidó, reported to the National Assembly’s

permanent committees on Energy and Petroleum, Finance and Economic Development, and




                                                16
Comptrollership. 21   During that report, which was broadcast live to all Venezuelans, Mr.

Pacheco announced that the ad hoc board appointed by President Guaidó had taken “total

control” of PDV Holding, Inc., CITGO Holding, Inc, and CITGO Petroleum Corporation. Id.

       Not only has the new Guaidó administration maintained total control over PDVSA, it also

has continued to use those assets in commerce, as required for attachment pursuant to § 1610(a).

This point was specifically confirmed by the Third Circuit in its decision affirming this Court’s

alter ego finding from Crystallex, which among other things noted that “President Guaidó in

February 2019 appointed an ad hoc administrative board to represent PDVSA in its capacity as

sole shareholder of PDVH for appointing a new board of directors of that entity.” See Crystallex

Int’l Corp., 932 F.3d at 151. As a result, “the shares continue to be used in commerce.” Id.

Venezuela has since exercised that same commercial power when Mr. Guaidó appointed

additional directors to PDVSA’s board in June of 2020.22

       C.      The United States Statement of Interest In Crystallex Confirms The
               Continuing Alter Ego Relationship Between PDVSA And The Venezuelan
               State.

       Setting to one side the United States’ resistance to Crystallex’s demands that it be allowed

to conduct a speedy auction of PDVH’s shares, the submissions of the United States before this

Court and in the broader policy arena confirm that the United States itself recognizes the

continuing and fundamental identity of PDVSA with the Venezuelan State.

       In the Statement of Interest filed in the Crystallex case, the United States admits that its

goal in calling for restraint as to any auction of PDVH shares is to forestall the perception that

21
   “PDVSA’s ad hoc Board of Directors highlights the transparent management of its
subsidiaries in the U.S.,” Republica Bolivariana de Venezuela, Asamblea Nacional, CENTRO DE
COMUNICACIÓN NACIONAL (Aug. 5, 2020) (Yanos Decl. Ex. 17).
22
  “Venezuela’s opposition names new members to PDVSA ad-hoc board”, REUTERS (June 30,
2020) (Yanos Decl. Ex. 18).



                                               17
the Guaidó administration cannot protect Venezuela’s assets. Statement of Interest of the United

States of America, Crystallex Int’l Corp. v. Bolivarian Republic of Venez., No. 1:17-mc-00151-

LPS (D. Del. July 16, 2020), D.I. 212-1 at 3; Reply Brief In Support of the Statement of Interest

of the United States, Crystallex Int’l Corp. v. Bolivarian Republic of Venez., No. 1:17-mc-00151-

LPS (D. Del. July 16, 2020), D.I. 220 at 8 (“Should these assets be advertised for public auction

at this time, the Venezuelan people would seriously question the interim government’s ability to

protect the nation’s assets, thereby weakening it and U.S. policy in Venezuela today.” (emphasis

added)). The same understanding is clearly reflected in the United States’ sanctions applicable

to Venezuela, which define “Government of Venezuela” to include PDVSA. See, e.g., Executive

Order No. 13857, 84 Fed. Reg. 509, 509–10 (Jan. 25, 2019) (amending the definition of

“Government of Venezuela” in prior Executive Orders explicitly to include PDVSA) and

Executive Order No. 13884, 84 Fed. Reg. 38843, 38843–45 (Aug. 5, 2019) (blocking the property

of “the Government of Venezuela,” which includes PDVSA). Where the Executive Branch, with

its foreign policy and intelligence apparatus, has equated PDVSA with the Venezuelan State, this

Court should feel comfortable drawing the same conclusion.

       D.      Granting Huntington Ingalls’s Motion Does Not Conflict With The United
               States Venezuela Sanctions Or Broader Foreign Policy Goals.

       Both this Court and the Third Circuit have previously ruled that United States sanctions

targeting the now-unrecognized Maduro regime and also impacting PDVSA’s assets in the

United States did not preclude the issuance of a writ of attachment in August of 2018. Although

the U.S. Venezuela sanctions have evolved since that time, authorizing the attachment

Huntington Ingalls seeks would not fall afoul of those regulations.23


23
  See Executive Order No. 13850, 83 Fed. Reg. 55243, 55243–45 (Nov. 1, 2018), which blocks
property and interests in property from transfer or dealing with various persons with dealings



                                                18
       OFAC has explicitly advised that a specific license “is not ordinarily required to initiate

or continue U.S. legal proceedings against a person designated or blocked pursuant to OFAC’s

Venezuela sanctions program, or for a U.S. court or its personnel, to hear such a case.”24

According to this guidance, a specific license would be required for the “purported creation or

perfection of any legal or equitable interests (including contingent or inchoate interests) in

blocked property.” Id. OFAC defines such measures to include attaching blocked property. See

id.

       Consistent with this guidance, Huntington Ingalls will be applying to OFAC for a license

authorizing its attachment of PDVH shares in the coming days and will keep the Court advised

on the process of its application.

       Otherwise, the United States’ Statement of Interest is not especially germane to

Huntington Ingalls’s present motion. To the extent that the United States urges the Court to

pause proceedings until OFAC approves Crystallex’s application for a specific license to auction

attached Venezuelan assets, see Statement of Interest of the United States of America, No. 1:17-

mc-00151-LPS (D. Del. July 16, 2020), D.I. 212 at 8–11, Huntington Ingalls takes no position.

Huntington Ingalls seeks only to be in a position to benefit from any eventual auction of PDVH’s

shares as a judgment creditor of Venezuela’s.       Huntington Ingalls’ motion thus does not

implicate the concerns expressed in the United States’ Statement of Interest. In its own words:

               the United States has not argued that its foreign policy interests
               “warrant[] stripping Crystallex’s lien on PDVH,” or otherwise

within Venezuela; Executive Order No. 13884, 84 Fed. Reg. 38843, 38843–45 (Aug. 5, 2019),
which, in relevant part, blocks property of the Venezuelan Government (including PDVSA) from
being “transferred, paid, exported, withdrawn, or otherwise dealt in” and Executive Order No.
13857, 84 Fed. Reg. 509 (Jan. 25, 2019).
24
  See “Frequently Asked Questions, Venezuela Sanctions,” U.S. Department of the Treasury
(Yanos Decl. Ex. 19) at 35 (FAQ No. 808).



                                               19
                 requested deference regarding the legal questions surrounding the
                 Rule 60(b) motion. Instead, the United States requests that the
                 Court give weight to U.S. foreign policy concerns when
                 considering whether to take further steps toward a forced sale at
                 this time.

Reply Brief In Support of the Statement of Interest of the United States, No. 1:17-mc-00151-LPS

(D. Del. July 16, 2020), at D.I. 220 at 2 (citations omitted and emphasis added). By its present

motion, however, Huntington Ingalls seeks not to take “further steps toward a forced sale,” but

only to reach the same stage that Crystallex has already reached.

                                          CONCLUSION

          For the above reasons, Huntington Ingalls respectfully requests that this Court enter an

order (1) finding that a reasonable period of time has elapsed since judgment was entered

allowing a writ of attachment pursuant to 28 U.S.C. § 1610(c); and (2) authorizing the Clerk of

the Court to issue the proposed writ of attachment fi. fa. to PDVH, authorizing the U.S. Marshals

Service to serve the writ, and granting such other and further relief as the Court deems just and

proper.

DATED: September 15, 2020                     Respectfully submitted:

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